    Case 2:23-cv-21705-KSH-LDW                   Document 34          Filed 01/14/25       Page 1 of 1 PageID: 108



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                                                     January 14, 2025

       VIA ECF
       The Honorable Magistrate Judge Lena D. Wettre
       United States District Court
       District of New Jersey
       50 Walnut Street
       Newark, NJ 07102

                RE:       Pietrocola v. Chelsea Senior Living, et al.
                          Docket No. 2:23-cv-21705
                          Our File No. 786-112201

       Dear Judge Wettre:

             The undersigned represents the Defendants, Chelsea Senior Living, LLC, Chris Slavicek,
       Edie Empirio, Roger Bernier, Kathy Merkel, and Scott Yaeger, in above matter.

                Pursuant to the Court’s Amended Scheduling Order of December 5, 2024, fact discovery
       is set to close in this matter on February 17, 2025. The parties have diligently attempted to
       complete the outstanding discovery, specifically, the depositions of defense witnesses but, due to
       the recent holidays and a variety of scheduling issues with this office and the witnesses,
       unfortunately have not been able to do the same.

               As such, I am writing, with the consent of my adversary, to respectfully request that the
       Court extend this deadline by an additional sixty days until April 17, 2025, to give the parties
       time to complete the depositions in this matter.

                The Court’s courtesy and attention to this matter are greatly appreciated.

                                                              Very truly yours,

                                                              MARKS, O’NEILL, O’BRIEN,
                                                              DOHERTY & KELLY, P.C.

                                                              /s/ Justin A. Britton
                                                              Justin A. Britton, Esquire
       JAB/nlo
       cc:   All counsel of record – via ECF


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